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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 UNITED STATES OF AMERICA

               v.
                                              Crim. No. 1:18-cr-83 (TSE)
 PAUL J. MANAFORT, JR.,


                Defendant.


                        GOVERNMENT’S MOTION TO EXCLUDE
                    EVIDENCE OR ARGUMENT ON CIVIL TAX AUDITS

        The United States of America, by and through Special Counsel Robert S. Mueller, III,

hereby moves in limine for an order precluding defendant Paul J. Manafort, Jr. (Manafort) from

presenting additional argument at trial, or soliciting evidence concerning, the absence of a civil

Internal Revenue Service (IRS) audit of Manafort or his companies, suggesting that such an audit

was necessary, or suggesting that the absence of such an audit was either improper or indicative

of selective prosecution or some other improper motive. The availability of a civil remedy is

irrelevant to the issue of criminal liability, will serve only to confuse and mislead the jury, and will

invite jury nullification. Accordingly, pursuant to Federal Rules of Evidence 401 and 403, the

Court should preclude Manafort from further raising these issues before the jury.

        A.      Background

        On February 22, 2018, a grand jury in this district returned a superseding indictment

charging Manafort with tax and bank fraud crimes. See Doc. 9. Specifically, the superseding

indictment charges Manafort with subscribing to false income tax returns, in violation of 26 U.S.C.

§ 7206(1) (Counts 1-5); failing to file reports of foreign bank accounts, in violation of 31 U.S.C.



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§§ 5314, 5322(a) (Counts 11-14); and bank fraud conspiracy and bank fraud, in violation of 18

U.S.C. §§ 1344, 1349 (Counts 24-32).

       During its opening statement on July 31, 2018, the defense stated as follows:

       But in the Government’s rush to judgment in this case you’re going to learn that
       Mr. Manafort was never audited by the IRS, nor were any of his companies. So as
       you consider this, as you hear all the evidence come in, the documents and the
       testimony, you might ask yourself whether the Government knew enough to initiate
       the audit. Did they have enough evidence? I mean, the government knows a lot
       about us, but did they have enough evidence to even think about initiating an audit
       of Paul Manafort?

7.31.18 Tr. at 44-45.

       B.      Argument

       Evidence regarding the role and availability of IRS civil audits is irrelevant in a criminal

tax case, and argument that a civil audit should have been conducted and the fact that one was not

creates a substantial risk of misleading the jury, prejudicing the government, and inviting jury

nullification. See United States v. DeMuro, 677 F.3d 550, 565 (3d Cir. 2012) (district court

properly excluded evidence of civil tax remedy because “it opened the door to jury nullification,

by inviting the jury to reason that the IRS should have continued to pursue the matter civilly rather

than criminally”); United States v. Buras, 633 F.2d 1356, 1360 (9th Cir. 1980) (explaining that the

availability of civil remedies in a tax case “is irrelevant to the issue of criminal liability” and

finding that a jury instruction regarding civil remedies “would serve only to confuse the jury”);

United States v. Burkhart, 501 F.2d 993, 996 (6th Cir. 1974) (“The matter of civil liability is not

an issue when a jury is determining a defendant’s criminal liability for tax evasion.”); United States

v. Merrick, 464 F.2d 1087, 1093 (10th Cir. 1972) (finding “no relevance” in a jury instruction that

a civil case might be brought against a defendant who was convicted of evasion under 26 U.S.C.




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§ 7201). See also United States v. Muse, 83 F.3d 672, 677 (4th Cir. 1996) (defense counsel is not

entitled to urge the jury to exercise the power of nullification).

       The availability of a civil tax audit is irrelevant to the jury’s consideration of whether the

evidence proves the elements of the tax, foreign bank account, and bank fraud offenses at issue

here, see Fed. R. Evid. 401. Even assuming information about such civil remedies has some

probative value, that value would be substantially outweighed by the risk of misleading or

confusing the jury, prejudicing the government, and encouraging jury nullification, see Fed. R.

Evid. 403.

                                          CONCLUSION

       For these reasons, the government requests that the Court enter an order precluding

Manafort from arguing or presenting evidence at trial concerning civil tax audits or the absence of

any such audit of him or his companies.

                                                       Respectfully submitted,

                                                       ROBERT S. MUELLER, III
                                                       Special Counsel

Dated: August 2, 2018                                  /s/

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 2nd day of August, 2018, I will cause to be filed electronically

the foregoing with the Clerk of Court using the CM/ECF system, which will then send a

notification of such filing (NEF) to the following:


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